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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt               POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                         CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                    Filed: May 6, 2016




 Ms. Debra Poplin
 Eastern District of Tennessee at Knoxville
 800 Market Street
 Suite 130 Howard H. Baker, Jr. U.S. Courthouse
 Knoxville, TN 37902-0000

                            Case No. 15-6092, Brackfield & Assoc Partnership, et al v. Branch Banking and Trust
                      Re:
                            Co
                            Originating Case No. : 3:14-cv-00524

 Dear Clerk:

    Enclosed is a copy of the mandate filed in this case.

                                                    Sincerely yours,

                                                    s/Renee M. Jefferies
                                                    Case Manager
                                                    Direct Dial No. 513-564-7021

 cc: Mr. Richard Baxter Gossett
     Mr. Matthew Adam Grossman
     Ms. Summer H. McMillan

 Enclosure




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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                              ________________

                                                 No: 15-6092
                                              ________________

                                                                       Filed: May 06, 2016

 BRACKFIELD & ASSOCIATES PARTNERSHIP, aka Brackfield & Associates, G.P.;
 EUGENE BRACKFIELD, JR.

                 Plaintiffs - Appellants

 v.

 BRANCH BANKING AND TRUST COMPANY

                 Defendant - Appellee



                                                MANDATE

      Pursuant to the court's disposition that was filed 04/14/2016 the mandate for this case hereby

 issues today.



 COSTS: None




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